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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          State of California               ,           Case No. 4:17-cv-05783-HSG
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                  v.                                        OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                   7          Health and Human Services         ,           (CIVIL LOCAL RULE 11-3)
                                                        Defendant(s).
                                   8
                                   9

                                  10          I, Julia Harvey                 , an active member in good standing of the bar of

                                  11    Rhode Island                          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: State of Rhode Island              in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Ketakee Rajiv Kane                , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     CA #291828
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16
                                       150 South Main Street Providence, RI 02903           1515 Clay Street Oakland, CA 94612
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   401-274-4400 Ext. 2103                               510-879-1519
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       jharvey@riag.ri.gov                                  ketakee.kane@doj.ca.gov
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: RI #10529            .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution

                                   3   Local Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: January 21, 2025                                       /s/ Julia Harvey
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Julia Harvey                           is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: 1/22/2025

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                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
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